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             EXHIBIT B
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             EXHIBIT B-1
         Case 1:22-cv-00900-RP Document 1-2 Filed 09/08/22 Page    3 of 179:55 AM
                                                            Filed: 8/2/2022
                                                                                   Lisa David, District Clerk
                                                                                   Williamson County, Texas
                                                                                   Jennifer Sims


                                           22-1131-C395
                                   Cause No. ______________

 Jerry Hofrock,                                                  In the District Court
 Plaintiff,                                                    _______ Judicial District
                                                               Williamson County, Texas
 and                                               Williamson County - 395th Judicial District Court
 Freedom Mortgage
 Defendant.                                                           Original Petition
                                                                with Request for Temporary
                                                                   Restraining Order and
                                                                 Temporary Injuctive Relief

       Jerry Hofrock, Original Petition against Freedom Mortgage with Request for Temporary

Restraining Order and Temporary Injuctive Relief, and in support thereof would show the Court

the following:

          1. The damages sought in this Counterclaim are within the jurisdictional limits of the

  Court. As required by Rule 47, Texas Rules of Civil Procedure, Counter-Plaintiff states that

  Counter-Plaintiff seeks monetary relief over $250,000 but not more than $1,000,000.

                                              Venue

          2. Venue is proper in this county in that the events giving rise to this cause of action

  occurred within Williamson County.

          3. Plaintiff Jerry Hofrock is an individual living in Williamson County. He has made

  an appearance..

          4. Defendant Freedom Mortgage Corporation, is a corporation organized under the

  laws of the state of FL. Freedom Mortgage Corporation is authorized to do business in Texas

  and may be served with process by serving CT Corporation System, its registered agent, by

  personal delivery at the registered office located at 1999 Bryan Street, Ste. 900, Dallas, TX

  75201-3136

                                    Discovery Control Plan

          5. Under Texas Rule of Civil Procedure 190.3, Hofrock plans to conduct discovery


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                                                                        Envelope# 66873400
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  under Level 2 and affirmatively pleads this suit is not governed by the expedited actions process

  Rule 169 of the Texas Rules of Civil Procedure because Plaintiff seeks injunctive relief.

                                        Causes of Action

                      Breach of Contract against Freedom Mortgage

           6. Hofrock, successor in interest to Tedo Acclis and Nicole Acclis, both in law and in

equity, continued to pay Freedom Mortgage via the existing deed of trust and promissory note

amended by subsequent forbearance agreement during COVID. Following completion of the

forbearance period, Hofrock’s payments were not being applied to his account and he began to

receive notices of default. For an unknown reason at this time, Freedom Mortgage began to cease

communication with him and ignore the power of attorney he had used for almost three (3) years.

           7. Because of that breach and the misapplication of funds, the house has been put into

foreclosure.

           8. Freedom Mortgage had a duty to execute the contract and apply Hofrock’s funds to

the account in a proper manner.

           9. Hofrock has been damaged as a result in an amount to be determined at trial.

                                           Accounting

           10. Plaintiff Hofrock demands an accounting of all funds paid to Co-Respondent

  Freedom Mortgage Corporation.

                      Application for Temporary Restraining Order

         11.     Plaintiffs ask the Court for specific injunctive relief of restraining the sale of

property at question in this suit, specifically the property at 8304 Paola Street, Round Rock, TX

78665.

         12.     Plaintiff's application for a specific temporary restraining order is statutorily

authorized under Texas Rule of Civil Procedure 680.


                                                      Hofrock v. Freedom Mortgage – Page 2 of 6
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        13.      Plaintiffs are likely to recover from Defendants after a trial on the merits because

Respondent Freedom Mortgage failed to properly apply mortgage payments that were sent to it.

        14.      If this Court does not grant this request to restrain the Defendants, the Plaintiffs

will suffer imminent and irreparable harm in that Respondent will lose his homestead and he is a

senior citizen, depending on his homestead protections and living on a fixed income. He has no

other place to live.

        15.      Plaintiffs have no adequate remedy at law because If he loses the property due to

foreclosure, all of his payments will be for nothing and under Texas law loss of a homestead will

cause him to be likely evicted before the family law case is finalized.

        16.      There is insufficient time to serve notice on Defendants and to hold a hearing on

this petition and application because After being in contact with the mortgage company, they

wanted multiple items that take too long to process in order to avoid the foreclosure sale and were

no longer honoring his power of attorney he has been using for almost three years.

                                                Bond

        17.      Plaintiffs is willing to post a reasonable bond for the temporary restraining order

and request the Court to set the reasonable bond.

                             Request for Temporary Injunction

        18.      Plaintiffs ask the Court to set this application for temporary injunction for hearing

and to issue a temporary injunction against Defendants after hearing.

                         Initial Disclosures for Freedom Mortgage

        19.      As provided in Rule 194, Texas Rules of Civil Procedure, required Initial

Disclosures of all items listed in Rule 194.2 must be made at or within 30 days after the filing of

the first answer unless a different time is set by the parties’ agreement or court order.

        20.      Plaintiffs ask the Court to keep the requirement of Initial Disclosures to be made


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within 30 days.

                                         Constructive Trust

       21.        The Court should order a constructive trust put around the sale of this property if

it is sold at foreclosure so that the proceeds may be distributed according to the final decree of

divorce and disposition of property in the underlying Williamson County family law case at issue

in CCL 4, No. l22-0200-FC4, IMMO Nicole Acclis and Tedo Acclis.

                                            Jury Demand

       22.        Plaintiffs request a jury trial and the appropriate fee is submitted with this petition.

                                           Attorney's Fees

       23.      Defendant hereby requests judgment against Plaintiff for reasonable and necessary

attorney’s fees under the provisions of Texas Civil Practices & Remedies Code Section 38.001.

                                                Prayer

          Jerry Hofrock prays the Court enter judgment in favor of him on all matters stated above,

  including an award to him for costs of court and reasonable attorney’s fees, and awarding him

  such other and further relief to which the Court determines Hofrock is entitled both in equity

  and at law.

                                                   Respectfully submitted,

                                                   CASEY LAW OFFICE, P.C.

                                                   /s/ Stephen Casey
                                                   Stephen Casey
                                                   Attorney for Jerry Hofrock
                                                   Texas Bar No. 24065015


                                                   P.O. Box 2451
                                                   Round Rock, TX 78680
                                                   Phone: 512-257-1324
                                                   Fax: 512-853-4098
                                                   Email: stephen@caseylawoffice.us


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                                  Hofrock v. Freedom Mortgage – Page 5 of 6
          Case 1:22-cv-00900-RP Document 1-2 Filed 09/08/22 Page 8 of 17




                                        Certificate of Service

           I certify that a true copy of this document was served in accordance with Rule 21a of

  the Texas Rules of Civil Procedure on the following on April 20, 2022.

         Dagnee "Dee" McKinney-Manning by electronic filing manager at

dmckinney@settleorsue.com (interested party)

         Scott A. Thompson by electronic filing manager at scott@austintexaslaw.com. (interested

party)

           Freedom Mortgage Corporation by personal delivery to its registered agent CT

Corporation Systems at 350 N Saint Paul St, Unit 2900, Dallas, TX 75201


                                                /s/ Stephen Casey
                                                Stephen Casey
                                                Attorney for Plaintiff Jerry Hofrock




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             EXHIBIT B-2
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Gand                                                                Temporary Restraining Order and
/
                                                                       O r d e r Setting H e a r i n g f o r
                                                                         Temporary Injunction
        varied
        Jerry Hofrock,
    G   Respondents    (a r h f f
         and
         Freedom Mortgage
               t D e f i c . nwt


                 The   Court upon       considering Jerry Hofrock, Plaintiff's, application for icmporary

        restraining order, the pleadings, the aflidavits, and the arguments of counsel, finds there is evidence

        o f harm that is imminent to Plaintiff and i f the issuanceo f the temporary restraining order is not
                                                               f.     -    Daa f?
        granted Plainuff will be irreparably injured because Respendent will lose his homestead, he is a

        senior citizen, depending on his homestead protections and living ona fixed income. He has no

        other place to live.

                 T h e C o u r t further finds an cx parte order without notice to Freedom Mortgage

        Corporation, Defendant, is necessary because timc is insufficient to give notice, hold           ahearing,


        and issuc a restraining order before the harm o f irreparable injury, damage, or loss would occur in

        that the allegations by Hofrock are that after being in contact with the mortgage company, no

        {casible manner o f processing the documents to correct the improper permissions and correct the

        accounting would be possible in sufficient time in order to avoid the foreclosure sale, and

        Defendant Freedom Mortgage is no longer honoring Hofrock?s power o f attorney he has been

        using for almost three years.




                                                       Page   1   Of 2                              22-0200-FC4-¢,
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T H E R E F O R E I T I S O R D E R E D by this C o u r t as follows:


             1.   Freedom Mortgage Corporation, and all of Freedom Mortgage Corporation's

            agents, attorneys, employees, officers, and successors and assigns are restrained and

            O R D E R E D to immediately cease and desist from restraining the sale of property at

            question in this suit, specifically the property at 8304 Paola Street, Round Rock, T X


             78665, from the entry of this order until 14 days thereafter.

            2. A h e a r i n g is set for A u g u s t    |
                                                             |    ,   at     kW    \       on CrossPlainuff

            Jerry Hofrock?s application for temporary injunction.

            3. Freedom Mortgage Corporation, Defendants, is O R D E R E D to appear at that

             time and show cause, i f any cause exists, why this temporary restraining order should

            not be made a temporary injunction pendingaf u l l trial on the merits.

            4. I T IS O R D E R E D that bond is set at ${00 and this order shall not be effective

            until J e r r y Hofrock deposits the full bond amount with the Clerk.




SIGNED ON _ Ay              st         Ldap                      od        (IB     nen
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                                                        J              RESIDING




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             EXHIBIT B-3
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                                               Fees: $8. 00 per issuance, plus copy fees.
                         m   IF NOT PICKED UP WITHIN 14 BUSINESS DAYS, SERVICE WILL BE DESTROYED m




Copy from re:SearchTX
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             EXHIBIT B-4
                             Case 1:22-cv-00900-RP Document 1-2 Filed 09/08/22 Page 15 of 17

                                                CITATION
                                THE STATE OF TEXAS, COUNTY OF WILLIAMSON
                                             NO. 22-1131-C395

JERRY HOFROCK VS. FREEDOM MORTGAGE

TO:               Freedom Mortgage Corporation
                  c/o CT Corporation System
                  1999 Bryan Street, Ste 900
                  Dallas TX 75201-3136

DEFENDANT in the above styled and numbered cause:

YOU HAVE BEEN SUED. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment for the relief demanded in the petition may be taken against you. In addition to filing a written answer
with the clerk, you may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be
made no later than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org

Attached is a copy of the ORIGINAL PETITION WITH REQUEST FOR TEMPORARY RESTRAINING ORDER AND
TEMPORARY INJUCTIVE RELIEF in the above styled and numbered cause, which was filed on the 2nd day of August, 2022 in the
395th Judicial District Court of Williamson County, Texas. This instrument describes the claim against you.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at office on this the 2nd day of August, 2022.

ADDRESS OF LEAD ATTORNEY FOR                                                     Lisa David, District Clerk
PETITIONER:
                                                                               PO Box 24, Georgetown, TX 78627
Stephen Daniel Casey
PO Box 2451
                                                                                   Williamson County, Texas
Round Rock TX 78680                                                                     (512) 943-1212

                                                                         BY:   Sabrina Rodriguez
                                                                               Sabrina Rodriguez, Deputy

                                                                   RETURN OF SERVICE
Came to hand on the ____ day of ____________,20__,at _____ o'clock __M. and executed at _______________________________, within the
County of ________________________, Texas, at _____ o'clock __M. on the ________day of _________________, 20____, by delivering to the
within named _______________________________________, in person a true copy of this citation, with a true and correct copy of the ORIGINAL
PETITION WITH REQUEST FOR TEMPORARY RESTRAINING ORDER AND TEMPORARY INJUCTIVE RELIEF attached thereto, having
first endorsed on such copy of citation the date of delivery.
* NOT EXECUTED, the diligence used to execute being (show manner of delivery) ______________________________________________________
_______________________________________; for the following reason _________________________________________________________,
the defendant may be found at ________________________________________________________________________________.
*Strike if not applicable.
TO CERTIFY WHICH WITNESS MY HAND OFFICIALLY_____________________________________ COUNTY, TEXAS
___________________________________ SHERIFF/CONSTABLE BY: ___________________________________ DEPUTY
FEE FOR SERVICE OF CITATION : $______________
                COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
                 In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return.
My name is ________________________________________________________________, my date of birth is __________________________, and my address is
                        Please print.     (First, Middle, Last)
_______________________________________________________________________________________________                                          (Street, City, Zip).
I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
Executed in ___________________________________County, State of __________________, on the _________ day of ________________________, 20______.

                             Declarant/Authorized Process Server                                    ID # & expiration of certification
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             EXHIBIT B-5
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                              TEMPORARY RESTRAINING ORDER
                                   THE STATE OF TEXAS
                                     NO. 22-1131-C395
TO:    FREEDOM MORTGAGE CORPORATION
       c/o CT CORPOTARION SYSTEM
       1999 BRYAN STREET, STE 900
       DALLAS TX 75201-3136
GREETING:
Whereas, filed in the 395th Judicial District Court of Williamson County, Texas, on the 2nd day of August, 2022, in a suit
numbered 22-1131-C395 on the Docket of said Court wherein
JERRY HOFROCK VS. FREEDOM MORTGAGE
alleging as shown by the certified copy of such pleadings attached hereto and made a part hereof, and upon presentation of
said petition to him and consideration thereof, the Honorable Judge of said court, ordered that you are therefore
commanded to desist and refrain from the actions set out and shown by the certified copy of such order attached hereto
and made a part hereof, until and pending the hearing of such petition for a temporary injunction before the Judge of said
Court on the day of August 11, 2022, at 9:00 AM in the 395th Judicial District Court located in the Williamson County
Justice Center located at 405 Martin Luther King, in the City of Georgetown, Texas, when and where you will appear to
show cause why injunction should not be granted upon such Petition effective until Final Decree in such suit.
ISSUED AND GIVEN UNDER MY HAND and seal of said Court, on this the 2nd day of August, 2022.
                                                 ATTEST:             Lisa David, District Clerk
                                                                   PO Box 24, Georgetown, TX 78627
                                                                       Williamson County, Texas
                                                                            (512) 943-1212
                                                             BY:      Sabrina Rodriguez
                                                                      Sabrina Rodriguez, Deputy
                                                   OFFICER'S RETURN
Came to hand on the ______day of __________________, A.D. ,20___, at _____o'clock ___.M. and executed on the _______ day
of __________________, A.D., 20 ____, at ____ o’clock - - by delivering to the within named ______________________________
in person, a true copy of this Writ at* ___________________________________________________________________________.
                                                                          (*State the day and hour and place of serving each defendant.)

              FEES:    $ _________________                     ___________________________________________________
        Serving Writ   $ _________________                                               Sheriff/Constable/Other
Mileage ______ miles   $ _________________                     ___________________________________________________
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               Total   $ _________________
                                                               By_________________________________________________
                                                                                                       Deputy
